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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:   Cecil and Marie Shamberger
                                                    Chapter 13

                                                    Case No. 19-11655

          Debtor[s].

                       ORDER GRANTING MOTION TO MODIFY PLAN

          AND NOW upon consideration of the Debtor[s'] Motion to Modify the confirmed

 chapter 13 Plan (doc. # 120, the "Motion");

          It is hereby ordered that

          1) The Motion is granted; and

          2) The Modified Plan (doc. # 119) is approved.




 Date: 1/8/2024
                                                                             J.
